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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                        CIVIL APPEAL STATEMENT OF PARTIES AND ISSUES

Case No: 23' 3792                      Case Manager Leon T. Korotko

                                                                 of Land & Blackhawk Land and Resources LLC, et
Case Name: Columbia Gas Transmission, LLC v. 171.54 Acres

Is this case a cross appeal? El Yes          No
Has this case or a related one been before this court previously? ElYes ENo
If yes, state:
   Case Name:                                    Citation:
   Was that case mediated through the court's program? D Yes EiNo

Please Identify the Parties Against Whom this Appeal is Being Taken and the Specific Issues You
Propose to Raise:
This appeal is taken against Columbia Gas Transmission, LLC.
                                                                                                            where
The issues raised on appeal include (1) whether a Federal Rule of Civil Procedure 71.1(i)(1)(A) is proper
                                                                       subject to the taking; and (2) whether such a
the dismissing party has already taken possession of the property
dismissal, proper or not, results in an abandonme    nt of the action such that Blackhawk   Land  and Resources,
LLC. is entitled to its reasonable attorney's fees, costs, and expenses pursuant to 42 U.S.C. § 4654 becasue
Columbia Gas, acting under federal authority from the Federal Energy Regulatory Commission, stood in the
shoes of the United States when it abandoned its proceeding against Blackhawk.




                                                                                                         2i" --
This is to certify that a copy of this statement was serve                                   ord this         day of

      0 cf\-0641"              2402,
                                                           Name of Counsel for Appellant




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Rev. 6/08
